USCA4 Appeal: 07-4115              Doc: 111              Filed: 09/19/2008            Pg: 1 of 1



                                              UNITED STATES COURT OF APPEALS
                                                  FOR THE FOURTH CIRCUIT

                                                        TRANSCRIPT ORDER

                                  READ INSTRUCTIONS ON PAGE TWO BEFORE COMPLETING

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  Case Style __________________________________________________________________________________________________
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  Name of Court Reporter/Electronic Rec.___________________________________________________________________________
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  Address of Reporter___________________________________________________________________________________________

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  BEEN MADE WITH THE REPORTER. IF THIS COMPLETED FORM IS NOT MAILED TO THE COURT REPORTER AND A COPY FILED
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  TWO COPIES OF APPELLANT'S DOCKETING STATEMENT WITH THE CLERK OF THE COURT OF APPEALS WITHIN FOURTEEN
  DAYS OF FILING THE NOTICE OF APPEAL. A SEPARATE TRANSCRIPT ORDER MUST BE COMPLETED FOR EACH REPORTER
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  A. This constitutes an order of the transcript of the following proceedings [check appropriate box(es) and indicate total number of
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                    PROCEEDING                                            HEARING DATE(S)

           ! Voir Dire                                  ______________________________________________________
           ! Opening Statement (Plaintiff)              ______________________________________________________
           ! Opening Statement (Defendant)              ______________________________________________________
           ! Closing Argument (Plaintiff)               ______________________________________________________
           ! Closing Argument (Defendant)               ______________________________________________________
           ! Opinion of Court                           ______________________________________________________
           ! Jury Instructions                          ______________________________________________________
           ! Sentencing                                 ______________________________________________________
           ! Bail Hearing                               ______________________________________________________
           ! Pre-Trial Proceedings (specify)            ______________________________________________________
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           ì Testimony (specify)                        êñîîñðêô èñïñðêô èñîçñðê
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           ! Other (specify)                            ______________________________________________________
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           TOTAL ESTIMATED PAGES _________________________

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        DISMISSAL OF AN APPEAL.
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        !
        ì Criminal Justice Act. A CJA Form 24 has been submitted to the district judge. (Attach a photocopy of the CJA 24 to the
            court of appeals' and reporter's copies. The CJA 24 does not have to be approved prior to submission of a copy.)
        ! Government expense (civil case). IFP has been granted and a motion for transcript at government expense has been
            submitted to the district judge.
        ! Advance payment waived by court reporter.
        ! Federal Public Defender - no CJA Form 24 necessary.
        ! United States appeal - copy of litigation expense form attached, if applicable.

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  Signature __________________________________________Typed name______________________________________________
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